USDC IN/ND case 2:13-cv-00190-RLM-PRC document 1 filed 06/03/13 page 1 of 7
USDC IN/ND case 2:13-cv-00190-RLM-PRC document 1 filed 06/03/13 page 2 of 7
USDC IN/ND case 2:13-cv-00190-RLM-PRC document 1 filed 06/03/13 page 3 of 7
USDC IN/ND case 2:13-cv-00190-RLM-PRC document 1 filed 06/03/13 page 4 of 7
USDC IN/ND case 2:13-cv-00190-RLM-PRC document 1 filed 06/03/13 page 5 of 7
USDC IN/ND case 2:13-cv-00190-RLM-PRC document 1 filed 06/03/13 page 6 of 7
USDC IN/ND case 2:13-cv-00190-RLM-PRC document 1 filed 06/03/13 page 7 of 7
